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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 MODERNATX, INC. and MODERNA US, INC.,

                              Plaintiffs,

                         v.                            Case No. 1:22-cv-11378-RGS

 PFIZER INC., BIONTECH SE, BIONTECH
 MANUFACTURING GMBH, and BIONTECH US
 INC.,

                              Defendants.


   DECLARATION OF GABRIELLE M. LANDES IN SUPPORT OF DEFENDANT’S
   MOTION TO STAY PENDING FINAL DETERMINATION OF INSTITUTED IPRS

        I, Gabrielle M. Landes, hereby state under the penalty of perjury that the following

statements are true and accurate to the best of my knowledge, and that I could testify to these

matters if called to do so:

        1.     I am an associate at the law firm Paul Hastings LLP, counsel for Defendants

BioNTech SE, BioNTech Manufacturing GmbH, and BioNTech US Inc. (together, “BioNTech”)

in this matter. I am a member in good standing of the New York Bar. I submit this declaration

in support of Defendant’s Motion to Stay Pending Final Determination of Instituted IPRs.

        2.     Exhibit 1 is a true and correct copy of the Patent Trial and Appeal Board’s

(“PTAB”) public institution decision to institute inter partes review of U.S. Patent No.

10,702,600 in BioNTech SE and Pfizer Inc. v. ModernaTX Inc., IPR2023-01358 dated March 19,

2024.
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       3.      Exhibit 2 is a true and correct copy of the PTAB’s public institution decision to

institute inter partes review of U.S. Patent No. 10,933,127 in BioNTech SE and Pfizer Inc. v.

ModernaTX Inc., IPR2023-01359 dated March 19, 2024.

       4.      Exhibit 3 is a true and correct copy of the United States Patent and Trademark

Office’s June 21, 2022 Guidance Memorandum, also known as the Vidal Guidance

Memorandum.



I declare under the penalty of perjury that the foregoing is true and correct.

Executed on this day, March 27, 2024 in New York, New York.




                                                              /s/ Gabrielle M. Landes
                                                              Gabrielle M. Landes
                                                              Associate
                                                              Paul Hastings LLP




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                                CERTIFICATE OF SERVICE

        I, Gregory M. Boucher, hereby certify that on March 27, 2024, I caused the foregoing
motion to be electronically filed with the Clerk of the Court using the CM/ECF system, which
will simultaneously serve notice of such filing to counsel of record to their registered electronic
mail addresses.

                                               /s/ Gregory M. Boucher
                                               Gregory M. Boucher (BBO# 665212)




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